Case 2:05-cr-20227-SH|\/| Document 15 Filed 08/17/05 Page 1 of 2 Page|D 15

FI|.ED B'~¢' v _____ .D.C_
UNITED sTATEs DIsTR.ICT coURT
wEsTERN DISTRICT oF TENNEssEE 05 AUG | 7 PH 3: 55

Western Division

ll-IOMAS M. GOULD
UNITED STATES OF AMERICA U£$/(.Dlé§ §NSTHTCT COURI
;~ ‘|F"'>, \';:§:la` l
-vs- Case No. 2:05cr20227-001Ma

CLAUDY REDMOND

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment ofcounsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

» The Federal Public Defender is appointed as counsel for the Defendant. The defendant is
to pay SlOO per month into the Registry of this Court to offset the cost of counsel.

TYPE OF APPOINTMENT
* All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Mernphis, TN, this 17th day of August, 2005.

lr_"_'_"'

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Off`lce

Assistant Federal Public Defender
lntake

CLAUDY REDMOND

This docr. ment entered on the docket s tin ompllanca
with Rlale 55 and/or 32fbi FRCrP on _E'__Z___..OS 6

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20227 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

